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                          BEFORE THE UNITED STATES
                 JUDICIAL PANEL ON MULTIDISTRICT LITIGATION


                                                                     MDL No. 2741
IN RE: ROUNDUP PRODUCTS
LIABILITY LITIGATION



    MONSANTO COMPANY’S NOTICE OF POTENTIAL TAG-ALONG ACTIONS

       In accordance with Rule 7.1(a) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, defendant Monsanto Company hereby notifies the Clerk of the

Panel of the potential tag-along actions listed on the attached Schedule of Actions.

       The docket sheets and complaints for the potential tag-along actions are attached.



 Dated: February 24, 2021                         Respectfully submitted,

                                                  /s/ Joe G. Hollingsworth
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